

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,757






EX PARTE HUNTER MICHAEL DAVENPORT, Applicant








ON APPLICATION FOR WRITS OF HABEAS CORPUS


CAUSE NO. C-2-007826-0928884 IN CRIMINAL DISTRICT COURT NO. 2
FROM TARRANT COUNTY





	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of two counts
of aggravated sexual assault and sentenced to thirty-two (32) years' imprisonment on each count. 
The Second Court of Appeals affirmed his convictions.  Davenport v. State, No. 02-05-00170-CR,
(Tex. App.- Fort Worth, June 15, 2006, no pet.) (not designated for publication). 

	Applicant alleges inter alia that his appellate counsel rendered ineffective assistance because
counsel failed to advise him of his right to file petition for discretionary review pro se.

	The trial court has entered findings of fact and conclusions of law that Applicant was deprived
of his right to file a petition for discretionary review pro se.  Ex parte Riley, 193 S.W.3d 900 (Tex.
Crim. App. 2006).  We find that Applicant is entitled to the opportunity to file an out-of-time petition
for discretionary review of the judgment of the Second Court of Appeals in Cause No. 02-05-00170-CR that affirmed his convictions in Cause Nos. C-2-007826-0928884 and C-2-007827-0928884 from
Criminal District Court No. 2 of Tarrant County.  Applicant shall file his petition for discretionary
review with the Second Court of Appeals within 30 days of the date on which this Court's mandate
issues.


Delivered: September 12, 2007

Do not publish


